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Leibnitz,Andrew (21)x4932
From:                    Thompson,Rod(27)x4445
Sent:                    Saturday,December03.2011 10:03 AM
To:                     'Fabrizio.Steven B
Cc: .                    Schoenberg,Tony(28)x4963*
                                                 ,Leibnitz,Andrew (21)x4932'
                                                                           ,Yeh,JenniferV.,
                                                                                          'Platzer.LukeC
Subject:                 RE:Hotfile-Bulgaria

steve,I'm justbackto my hotel(and internetaccess.)
W e w illagree thatM r.Titov'stestim ony can be t'com m ingled''and that he w illbe deposed in
aIIthree ofhiscapacitiessim ultaneously,w ith the expectation thatthisw illsignificantly
shorten the overallIength ofthe deposition and avoid the riskthatyou w ould askquestions
aboutthe same subjectmore than once.lalso believe thatwithcomminglingthere willbe no
reasonablejustificationto go morethanthree daysintotal,and Iunderstand thatyouwill
strikefbrthatresult(withoutcomm ittingto it).
Given the foregoing,there isno reason to debate aboutHotfile'sability to proceed w ith the
depositionson the datesyou noticed and relied on inarguing (successfully)to getfourdays.If
you had noticed the Rule 30b6 first,and deposed M r.Titov asthe desighee,you w ould have
been entitled to ask aIlofyourquestions- individualand corporate- thereby elim inating the
prem ise foryour''one m ore day àrgum ent.'' Forthe record you neversuggesting flipping the
orderuntilafterthé Courtruled,you can be sure Iw ould have told the Courtabout itifyou
had. Butagain the issue ism oot.

W ith respectto.the Rule 30b6 notices,M r.Titov w illbe the Hotfile Corp,designee on aII
topics.Toassistinyourpreparation(andefficientexamination),pleasebeaware,however,
thatMr.Tltovhasandwillconsultonthefollowingtopicsofthe50 Rule30b6withMessrs.
Stoyanov (19,22,28,41,43,44 and45)and Vangelov (12,24,34,43 and 45)who have better
know ledgethan M r.Titov onsome aspectsofthe subjectsIisted.These designationsare
subjectto ourobjections,served yesterday.

Safe Travels.

Rod

From :Fabrizio,StevenB Emailto:sFabrizio@jenner.com)
Sent:Saturday,Decem ber03,2011 7:07 AM
To:Thompson,Rod(27)x4445
Cc:Schoenberg,Tony(28)x4963;Leibnitz,Andrew (21)x4932;Yeh,JenniferV.
Subject:RE:Hotfile-Bulgarla
Rod - Can w e please have youransw eron com ingling and,barring com ingling,the ordering of
the depositions.W e need to geton flightssoon.
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Ontheordering,lcannotthinkofanyreason (otherthandeliberate obstruction)to refusethe
ordering thatw e have proposed. Throughoutthiscase,the dates in depo noticeshave been
considered placeholders,notw ritten in stone dates. lalso have been telling you,even before
the hearing w ith the Court,that1w anted to conductM r.Titov'sindividualdeposition Iast. You
nevereven suggested any opposition, How can you w aituntilitistoo Iate to geta ruling from
the Courtto now announce thatdefendantsw illnotaccom m odate the ordering we/ve
requested.

 Havinggonethrough my preliminarypreparation,itisclearthatm uch ofwhatlneed to ask
M r.Titov usesasa foundation the exam ination ofHotfile. lt m akes no sense to startw ith M r.
Titov. Itw illbe highly w astefuloftim e. And ita1lbutguaranteesthatw e willneed m ore than
one dayto com plete M r.Titov- because ofthe foundationalquestioning - additionaltim e w e
w ould nototherw ise need.

Please letusknow asap. Thanks.

SBF
                                                                                        '
                                                                     .


      From :R-rhompson@fbm.com (mailto:RThompson@fbm.com)
      Sent:Friday,December02,20114:45 PM
      To:Fabrizi
               o,Steven B
      Cc:Tschoenberg@fbm.com ;ALeibnit@fbm .com;Yeh,JenniferV.
      Subject:RE:Hotfile-Bulgaria
      Steve,thew eatherin Sofia isnot bad- high in the loW 50s and probably in the 20s right
      now (11:45 p.m.) First,ldid getyouremail(and read itjustnow).
      Second,w hile it isfine to send us potentialexhibitsin advance,especially HF produced
      docum en'tsthatyou have truncated,thatw as notouroffer. W e proposed,and Judge
      Turnoffencouraged you,to provide translationsofdocum ents in advance, Thatis
      w here tLerealtimesaving can be achieved.And ifyou do show M r.Titov (ortheother
      HotfileW itnesses)atranslationofan HFproduced document,please be sureto have
      the HF produced docum entw ith the translation forthe w itnesses reference.

      Third,w e are stillconsidering your''com m ingling''proposal. Even w ithoutyour
      cooperation on translationsitm ay stillm ake sense. Can you agree- as Irequested- to
      make everyeffortto finish inthree days'(and thatyouwillplanto finish âbsent
      surprises)ifweagreetocommingling? Also,astothealternativechoice,wewould
      proceedonfourdaysperthedepositionnotices,Plaintiffsnoticed(andthejudge
      allowed)fotlrdaysinthefollowingorderTitovindividual(12/5),W arnercounterclaim
      (12/6)andRule30b6(12/7-8). Iwillbemeetingwithmyclienttomorrow sopleaselet
                                                 2
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      m e have yourIatestproposal, lplan to Ietyou know by the end ofthe day on our
      decision on comminglingaswellaswhatRule 30b6topics(ifany)willbe handled by
      w itnesses otherthan Titov.

      Fourth,no,w e do not have an agreem enton authentication. Literally m illions of
      docum entsw ere produced by Hotfile,m any enhailsw ritten by othersand som e
      deliberately purportingto be somethingthey were not(e.g.a bona fide DMCA notice).
      So w e cannothave a blanketstipulation. O nthe otherhand,lsuspectthatthere w ill
      notbe an authentication dispute aboutthe docum entsyou cafe about. Give us the
      documents(oraIist)andwecansee,
      Needtocatchuponmysleep(andexcusethetypos.)

      Rod

      P.S.Thanksforcopying Töny and Andy. M y response tim e w illbe slow erin the days
      ahead.

      From :Fabrizi
                  o,StevenB (mailto:sFabrizio@jenner.comj
      Sent:Friday,December02,2011 11:55 AM
      To:Thompson,Rod(27)x4445
      Cc:Schoenberg,Tony(28)x49639Leibni
                                       tz,Andrew (21)x4932,
                                                          .Yeh,JenniferV.
      Subject:RE:Homle-Bulgaria
      Rod - How'sthe weatherin Sofia?

      W e decided to take you up on yourofferto send atIeastthe attached docum ent. lt isa
      documentregardingusersterminated byHotfile.Thisisonlyanexcerpt(itstartsatthe
      beginqing,butendsw ith the fîling ofthe com plaint,before the m assterm inations,so
      thefulldocumentwouldgoonformanymorepages).W ewanttoconfirm withHotfile
      thatthe users/entrieswe'vehighlighted inyellow representthe onlyusersHotfile
      term inated,from inception ofHotfile through the filing ofthe com plaint inthisaction,
      forreasons related to copyrightinfringem ent. IfM r.Titov could review the docum entin
      advance,thatw ould help save tim e atthe deposition.

      Ifand asw e com e across otherdocum entsw herë we believe sendingthem to you in
      advance w illm aterially expedited the deposition,w lthoutunduly encroaching on w èrk
      product,we willforward them . l'd appreci  pte yourreplyingto Ietm e know kougotthis.

      Additionally,please Iet m e know todayw hetherHotfile planpto com ingle the Hotfile
      and Titov depositions. Having gone through som e preparation,Ican tellyou thatI
      believe thatw illsave tim e and,w hile w e cannotagree to a hard deadline shorterthan
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      the fourdaysordered,Ibelieve there is a reasonable Iikelihood thatdoing so would
      enable usto finishin Iessthanfourdays(whetherthatis3.5 daysor3daysIcould not
      say). Butifwe aregoingto realizethe time savingsIneed to know inthe nextfew hours
      so thatIcan effectively m erge outlines.

      Asto yourotherquestions,the translatoriscertified to translate both Russian and
      Bulgarian,and thè courtreporterw illhave realtim e hook ups.

      Regarding the below discussion,can we considerthatw ith this exchange ofem afls we
      have a stipulation thatthe docum ents produced by each party are authentic and neither
      side willchallenge the authenticity ofdocum ents ithaSproduced inthisaction? Pléase
      confirm .

      Asto the businessrecords issues,ldon'tsee how eitherside could fairly argue thatthe
      datasetsitproduced,including the database ofHotfile'scom m unicationsw ith users,do
      notconstitute ''lrlecordsofregularlyconducted activity''underFRE803(6),which,in
      relevantpart,isdefined as''(a)report,record,ordata com pilation,in anyform,ofacts
      (or)events...,madeatornearthetim eby,orfrom inform ationtransfnitted by,a
      person w ith know ledge,ifkeptin the course ofa regularly conducted businessactivity,
      and ifitw asthe regularpractice ofthatbusinessaétivity to m ake the ...report,record
      ordata com pilation ...unlessthe source ofthe inform ation orthe m ethod or
      circum stancesofpreparation indicate a Iackoftrustw orthiness.''

      AsIsaid,thisstipulation isintended to be m utualand both sides produced datasetsthat
      are fairlycharacterized as''lrlecordsofregularlyconducted activity.'' So please givethis
      additionalthought, No one w antsto take up deposition tim e w ith evidentiary
      form alitiesw here a reasonable stipulation could have avoided the need fordocum ent-
      by-docum enttestim ony.

      Thanks.

      SBF

            From:RThompson@fbm,cnm (mailto:RThompson@fbm,com)
            Sent:W ednesday,Noveme r30,2011 11:30 PM
            To:Fabrlzb,Steven B
            Cc2Platzer,Luke C;Tschoenberg@fbm.com;ALelbnltz@fbm.com
            Subjed :RE:Hotflle -Bulgaria
            Steve w e willconsider#1. Don'tsee how w e could agree to #2. From now on
            please copy Tony,Andy and m è on aIIem ails.Asyou know lw illbe difficultto
            reach- am aboutto board my flight.
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           From :Fabri
                     zio,StevenB (mail
                                     to:sFabrizio@jenner.coml
           Sent:W ednesday,Noyem* r30,2011 6:05 PM
           To:Thompson,Rod(27)x4445
           Cc:Platzer,Luke C
           Subject:RE:Hotffle -Bulgaria
           Rod - W illdefendantsstipulate that:

              1. AlIdocum ents and datathey produced in thislitigation isauthentic;and
              2. AI1ofthe datasets,including the userem aildatabase,constitute business
                 recordsunderthe FederalRules ofEvidence.

           W e'IIobviously stipulate to the sam e.

           Thisw ould help stream line alIthe depositions.

           Please advise and w e'llsend overa draftstip.

           SBF

                  From:Thompson?Rod (27)x4445 (mailto:RThompson@fbm.coml
                  Sent;Wednesday,November3% 20116:43 PM
                  To:Fabrizio,Steven B
                  Subject:Re:Hotfile-Bul
                                       garia
                  Calli
                      fyou'd Iike.4155091874

                  Rod Thom pson
                  Sentfrom my iphone

                  onNov30,2011,at3:15PQ,''Fabrizio,stevenB''<sFabrizio@ ienner-com>wrote;
                         Now lfeelIike you saying a callw ould probably w ork betterfor
                         thisthan em ail. Butlunderstand the rush ofgetting ready to
                         leave.        '

                         You have to know thatw e cannotagree to Iessthan fourdays.
                         How ever,ifsom ethïng w illstream line,then w e should do it
                         and Iw illproceed asquickly as possible to be done earlier.
                         Thatw orksforeveryone. Asan aside,although relevant,you
                          do notgettocutoffquestioninjthewayyousuggestyouplan
                          to do below . Asan individual,w e can askTitovw hateverw e
                          like. lhave said the issuesare largely distinct,and they are.
                          Butw e are also perm itted to askTitov w hathe know sasa
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                      percipientw itness. Com m ingling there w ould save tim e.The
                      sam e holdsforW B?scounterclaim deposition,although there
                      really isalmostnooverlapatalIso the issue isjustnotgoingto
                      arise.

                      So thinkaboutw hetheryou w antto com ingle the Hotfile and
                      Titov depositionson non-counterclaim issues.ThatisIikelyto
                      expedite the deposition,butw e're notin a position to
                      renegotiate the court's orderon the outerlim it. M y guejs is
                      that,ata m inim um ,itw ould avoid any issuesasto the 7 hour
                      lim it.

                      On housekeeping'
                                     .

                         Thanksforthe heads-up. W e w ere planning Russian since
                         we thoughtthatw as hisfirstand m ostcom m only spoken
                         Ianguage. W e'Iltry to sw itch to a Bulgarian translator.
                         W e w illcertainly tellthe reporterthatyou want realtim e.

                      SBF


                               From:RThompson@fbm.com (mailto:RThompson@fbm.comj
                               Sent:Wednesday,November30,2011 6:02 PM
                               To:Fabrizlo,Steven B
                               Cc:ALeibnltzlfbm.com;Pl
                                                     atzer/Luke C
                               Subjed :RE:Hodile -Bulgarl
                                                        a
                               Steve,1'11be en route to Sofiatom orrow .

                               Asto stream lining,''com m ingling''the daysofdeposition
                               would save the m osttim e, Itm akesIittle sense foryou
                               to takeseparate 9 a.m.-6 p.m .daysofdepositionfor1)
                               Anton asindividual(where Iwillnotallow 30b6topics),
                               2)Counterclaim 30b6(whereIwillnotallow other
                               topics)and3)uptotwodaysasaRule30b6(1willnot
                               know whowillcoverwhichtopicsuntilnextMonday).
                               W hy don'twe agree in'advance to a three day outside
                               lim itin exchange forcom ingling overthree days? That
                               w ould also give you an incentive to provide translations
                               in advance asm uch aspossible,as l'  thinkyou recognize
                               thatwillspeed thingsup considerably.
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                            Also a few housekeeping issues.

                            1. lfyou do bring atranslatorforAnton,Bulgarian
                            m akes m ore.sense since m ostofthe docum entsthatare
                            notin English are in Bulgarian and Anton speaks
                            Bulgarian m ore often than Russian.

                            2. Please have the reporterequipped w ith Real
                            Tim e.

                            Please Iet m e know ASAP as Ileave forBulgaria shortly,
                            (1shouldhaveemailinBulgariaand lthinkyou know the
                            cellphone is415.509.1874.)

                            Rod


                            From:Fabrizio,StevenB (mallto:sFabrizio@jenner.comj
                            Sent:Wednesday,Novem ber30,2011 2:36 PM
                            To:Thompson,Rod(27)x4445
                            Cc:Leibnitp Andrew (21)x4932;Pl
                                                          atzer,LukeC
                            Subject:Hotfile-Bulgari
                                                  a
                            Iam around tom orrow ifyou w antto talkthrough
                            stream lining possibilities, Ihave no intention pfstaying
                            in Bulgaria one m inute Iongerthan Ineed to and ifIcan
                                               '
                            finishthedepositionsin3 or3.5days,nothingwoulà
                            m ake m e happier. ln particular,w hatisyourthought
                            abouthavingTitov sitasthe corporate designee and
                            individually atthe sam etim e. How do you see that
                            w orking.Also,w hen w illyou know ifsom eone other
                            than Titov w illsiton som e ofthe topics.

                            SBF


                            Steven B.Fabrizio
                            Jenner& Bl ock LLP
                            1099 New YorkAvenue,N.W .
                            Suite 900
                            W ashington,DC 20001-4412
                            TeI(202)639-6040
                            Fax(202)661-4823
                            SFabrizioa ienneccom
                            WWW.lenner.com
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                            notify lhe senderimmedialely and delete itfrom yoursystem.




                              Thlse-mallmessage Isforthe sole useofthe intended reciplentls)and may
                             contain confidentialand prlvil
                                                          eged information.Any unauthori zed review,use,
                              dlscl
                                  osure ordistrlbution is prohlbited.lfyou are notthe i
                                                                                      ntended reciplent,
                             please contactthe senderbyreply e-mailand destroy aIIcopies ofthe original
                                                         message.Thank you,

                                           '
                                                         Farella Braun + M artelLLP
